
112 Cal.App.2d 415 (1952)
THE PEOPLE, Respondent,
v.
JAMES E. ELMER, Appellant.
Crim. No. 4817. 
California Court of Appeals. Second Dist., Div. Three.  
July 24, 1952.
 James E. Elmer, in pro. per., for Appellant.
 Edmund G. Brown, Attorney General, for Respondent.
 THE COURT.
 Appeal from an order denying a petition for a writ of error coram nobis. The sole ground of the petition was that petitioner was persuaded to enter a plea of guilty to forgery with a prior conviction, by the representation of his counsel that he would receive a light sentence, and that he received instead a sentence to state prison. No claim was asserted that any peace officer, the district attorney or the court had any part in the alleged representations or any knowledge of them. Petitions for habeas corpus have been heretofore filed by petitioner with various courts and have been denied.
 [1] The present petition based solely upon alleged representations of petitioner's attorney presented no sufficient ground for granting the order sought. The appeal is without merit. (People v. Aseltine, 139 Cal.App. 768 [34 P.2d 830]; People v. Deutsch, 16 Cal.App.2d 121 [60 P.2d 155].)
 The order is affirmed. *416
